











NO. 07-07-0268-CR

IN THE COURT OF APPEALS

FOR THE SEVENTH DISTRICT OF TEXAS

AT AMARILLO

PANEL D

AUGUST 5, 2008

______________________________


DETTA SANDERS, APPELLANT

V.

THE STATE OF TEXAS, APPELLEE

_________________________________

FROM THE 25TH DISTRICT COURT OF GUADALUPE COUNTY;

NO. 06-1792-CR; HONORABLE DWIGHT E. PESCHEL, JUDGE

_______________________________

Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.
MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant, Detta Sanders, was indicted on six counts of theft, enhanced by three
prior theft convictions.  Pursuant to her plea of no contest without an agreement on
punishment, she was convicted and sentenced to two years confinement in a state jail
facility.  Presenting a sole issue, she maintains the evidence is legally insufficient to
support her conviction.  We affirm.
Background
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;By four counts in the indictment, Appellant was charged with theft of items valued
at less than $50 and by the remaining two counts, with theft of items valued at more than
$50 but less than $500.  The crimes were committed against six different complainants. 
The indictment further alleged that Appellant was convicted of theft on three previous
occasions. &nbsp;
Discussion
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant contends by her sole issue that the trial court lacked jurisdiction to
sentence her because the evidence is legally insufficient to raise the misdemeanor thefts
to the level of a felony.


  Specifically, she asserts the State failed to prove the prior theft
convictions.  We disagree. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;An appellate court will affirm a trial court’s judgment under article 1.15 of the Texas
Code of Criminal Procedure Annotated (Vernon 2005), if the State introduced evidence
that embraces every essential element of the offense charged and is sufficient to establish
the defendant’s guilt.


  Chindaphone v. State, 241 S.W.3d 217, 219 (Tex.App.–Fort Worth
2007, pet. ref’d) (citing Wright v. State, 930 S.W.2d 131, 132 (Tex.App.–Dallas 1996, no
pet.).  When a misdemeanor theft is elevated to a felony theft, the prior theft convictions
create a new offense and vest jurisdiction in the district court.  Diamond v. State, 530
S.W.2d 586, 587 (Tex.Crim.App. 1975).  The prior theft convictions become jurisdictional
elements of the theft charge and cannot be waived.  Gant v. State, 606 S.W.2d 867, 871
(Tex.Crim.App. 1980).  As such, each count in the indictment charged Appellant with a
state jail felony.  See generally Tex. Penal Code Ann. § 31.03(e)(4)(D) (Vernon Supp.
2007) (providing that the offense is a state jail felony if the value of the property stolen is
less than $1,500 and the defendant has been previously convicted two or more times of
any grade of theft). 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;A “catch-all” stipulation in which a defendant stipulates that all allegations contained
in the indictment are true and correct is sufficient to constitute a judicial confession which
will alone support a conviction.  See Potts v. State, 571 S.W.2d 180, 181 (Tex.Crim.App.
1978).  A judicial confession together with an in-court affirmation thereof constitutes
compliance with the requirements of article 1.15.  Id. at 182.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant and her attorney executed a document entitled “Waivers, Stipulations and
Admonishments for Plea of Guilty or No Contest.”  The document lists all six counts of the
indictment as well as the enhancement allegations and was introduced into evidence at the
hearing on Appellant’s plea.  Paragraph E of the document, entitled “Voluntariness of Plea
and Stipulation of Evidence”, provides in relevant part:
[t]he defendant further admits and stipulates each and every allegation
contained in the indictment herein is true and correct.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Additionally, at the hearing on Appellant’s plea, the trial court asked her numerous
questions about her prior theft convictions.  Although Appellant describes the discussion
in the record as “confusing” as to whether she was admitting to the three convictions
alleged in the indictment, the following response to the trial court’s inquiry concerning those
prior theft convictions is unequivocal:
The Court: If you pled guilty, and you were sentenced and placed on
probation, that counts as a conviction.
The Defendant: Okay, I did twice.
&nbsp;
Although the indictment alleged three prior theft convictions, section 31.03(e)(4)(D) only
requires two prior convictions.  Therefore, this admission alone is sufficient to satisfy the
requirements of section 31.03(e)(4)(D).  Furthermore, later in the colloquy, Appellant
admitted to the three prior convictions.  During this discussion the trial court also
determined that none of the prior convictions had been expunged.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Notwithstanding that the State did not introduce copies of the previous judgments
into evidence, Appellant’s stipulation and judicial admission are sufficient proof of prior
convictions for enhancement purposes.  See Beck v. State, 719 S.W.2d 205, 209-10
(Tex.Crim.App. 1986).  We conclude the evidence is legally sufficient to support
Appellant’s conviction.  Appellant’s sole issue is overruled.
Conclusion
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Consequently, the trial court’s judgment is affirmed.


&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Patrick A. Pirtle

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice



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